    Case 1:07-cr-00279-SCJ-JKL Document 1995 Filed 05/21/12 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

MANUEL MAGANA-SAGRERO,                  CRIMINAL ACTION
                                        1:07-CR-279-CAP-GGB-38
            Movant,                        CIVIL ACTION
      v.                                   NO. 1:11-CV-1954-CAP-GGB
UNITED STATES OF AMERICA,
            Respondent.

                                O R D E R

     This   action    is   before    the    court   on    the   Report    and

Recommendation (“R&R”) of the magistrate judge [Doc. No. 1991],

there being no objections thereto.         Having read and considered the

R&R, the court receives it with approval, and it is ADOPTED as the

opinion and order of this court.

     SO ORDERED, this 21st day of May, 2012.



                                    /s/ Charles A. Pannell, Jr.
                                    CHARLES A. PANNELL, JR.
                                    United States District Judge
